    Case: 1:20-cv-03118 Document #: 88 Filed: 12/15/20 Page 1 of 17 PageID #:775




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

JOHN FULTON,                              )
                                          )
                              Plaintiff,  )                       20-cv-3118
                                          )
            v.                            )                       Honorable Judge Lefkow
                                          )
ROBERT BARTIK, et al.,                    )
                                          )
Defendants.                               )
_________________________________________ )
                                          )
ANTHONY MITCHELL,                         )
                                          )                       20-cv-3119
Plaintiff,                                )
                                          )                       Honorable Judge Lefkow
v.                                        )
                                          )
ROBERT BARTIK, et al.,                    )
                                          )
Defendants.                               )


                   COUNTY DEFENDANTS’ REPLY IN SUPPORT
              OF THEIR MOTION TO DISMISS PLAINTIFFS’ COMPLAINT


        Defendants McRay Judge, Jacob Rubinstein, Andrew Varga, Eugene Shepherd, and Cook

County, Illinois (collectively “County Defendants” or “Defendants”), by and through their

attorneys, Special State’s Attorneys Brian P. Gainer and Zachary Pestine of Johnson & Bell, Ltd.,

for their Reply in Support of their Motion to Dismiss Plaintiffs John Fulton and Anthony Mitchell’s

(“Plaintiffs”) Complaints, state as follows:

                                          INTRODUCTION
        Plaintiffs’ Response to the County Defendants’ Motion to Dismiss (“Response”) largely

ignores established law. In this Reply, the County Defendants will address the litany of Plaintiffs’

errors and restate the law as it is, not as Plaintiffs wish it to be.


                                                     1
    Case: 1:20-cv-03118 Document #: 88 Filed: 12/15/20 Page 2 of 17 PageID #:776




   I.      PLAINTIFFS CANNOT DISPUTE THAT THE MANNER IN WHICH THEIR
           JUDICIAL PROCEEDINGS TERMINATED DID NOT INDICATE THEIR
           INNOCENCE.
        Plaintiffs begin their Response with a strawman, namely that Defendants exhibited

documents in their Motion to Dismiss to demonstrate that Plaintiffs are not actually innocent. [Dkt.

#84, pp. 2-3]. Plaintiffs claim that Defendants “invite this Court to take judicial notice of Judge

Martin’s credibility determinations and evaluation of the disputed factual record, and adopt those

findings for the purpose of dismissing Plaintiffs’ malicious prosecution claims at the pleadings

stage.” Id. at 30. This is false, and it is an unreasonable reading of Defendants’ Motion to Dismiss.

Defendants do not ask the Court to adopt Judge Martin’s findings, but rather clearly ask that the

Court take judicial notice that Judge Martin made those findings. Defendants did not exhibit these

documents to demonstrate whether Plaintiffs are innocent. Instead, these records demonstrate that

Plaintiffs’ proceedings were not terminated in a manner indicative of their innocence, a required

element of Plaintiffs’ malicious prosecution claim.

        These court records are subject to judicial notice. A court “may take judicial notice of an

adjudicative fact that is both not subject to reasonable dispute and either 1) generally known within

the territorial jurisdiction of the trial court or 2) capable of accurate and ready determination by

resort to sources whose accuracy cannot reasonably be questioned.” Gen. Elec. Capital Corp. v.

Lease Resolution Corp., 128 F.3d 1074, 1081 (7th Cir. 1997), citing Opoka v. INS, 94 F.3d 392,

394 (7th Cir.1996) (recognizing that proceedings in other courts, both inside and outside the

federal system, may be judicially noticed).

        In their Response, Plaintiffs claim “The Seventh Circuit has reversed dismissals under Rule

12(b)(6) where contradictory facts from outside of the complaint were considered. Jacobs v. City

of Chicago, 215 F.3d 758, 765 (7th Cir. 2000).” [Dkt. #84, p. 3]. Jacobs regards a district court’s

consideration of several photographs and a police report exhibited in a motion to dismiss, not

                                                 2
    Case: 1:20-cv-03118 Document #: 88 Filed: 12/15/20 Page 3 of 17 PageID #:777




judicial notice of undisputed court records. Jacobs v. City of Chicago, 215 F.3d 758 (7th Cir.

2000). To reiterate, it is irrelevant whether Judge Martin ruled correctly, just as it is irrelevant

whether Plaintiff’s dispute that Judge Martin ruled correctly. What is relevant is whether Judge

Martin made the ruling, and thus whether court records demonstrate that Plaintiffs cannot state a

claim for malicious prosecution (and, as detailed below, whether Plaintiffs’ claims are barred under

the doctrine of res judicata). Plaintiffs do not dispute the accuracy of the court records that

Defendants exhibited, and these records demonstrate that Plaintiffs’ judicial proceedings were not

terminated in a manner indicative of their innocence. [Dkt. #70, pp. 23-26, Ex. E-G].

         This is dispositive because the elements of a cause of action for malicious prosecution are:

“(1) the commencement or continuance by the defendant of an original judicial proceeding against

the plaintiff; (2) termination of the original proceeding in favor of the plaintiff; (3) absence of

probable cause for the proceeding; (4) malice; and (5) special damages. In order to sustain an

action for malicious prosecution, the plaintiff must prove each element.” Grundhoefer v. Sorin,

2014 IL App (1st) 131276, ¶ 11, 20 N.E.3d 775, 780. (internal citation omitted). “In regard to the

second element, a malicious prosecution action cannot be predicated on underlying criminal

proceedings which were terminated in a manner not indicative of the innocence of the accused.”

Swick v. Liautaud, 169 Ill. 2d 504, 512, 662 N.E.2d 1238, 1242 (1996). Plaintiffs cannot

demonstrate the second element of their malicious prosecution claims because they cannot

demonstrate that their criminal proceedings were terminated in a manner indicative of their

innocence. Regardless of whether Plaintiffs are innocent, their malicious prosecution claims fail.

   II.      PLAINTIFFS CHOSE TO DISMISS THEIR CASE AGAINST DEFENDANT
            RUBINSTEIN WITH PREJUDICE OVER FOURTEEN YEARS AGO, AND
            HECK DOES NOT DEFEAT RES JUDICATA.




                                                  3
    Case: 1:20-cv-03118 Document #: 88 Filed: 12/15/20 Page 4 of 17 PageID #:778




       Plaintiffs bring the following claims against Defendant Rubinstein: Count I – False

Confession under the Fifth and Fourteenth Amendments, Count II – Fabrication of False Witness

Statements under the Fourteenth Amendment, Count VI – Section 1983 Failure to Intervene, and

Count X – State Law Intentional Infliction of Emotional Distress. [Dkt. #1, ¶¶135-150, 173-178,

202-204]. In their Motion to Dismiss, Defendants demonstrated that all claims against Defendant

Rubinstein should be dismissed under the doctrine of res judicata. Plaintiffs previously sued

Defendant Rubinstein in 2005 for claims arising out of the same set of facts, namely their

interrogation and prosecution for the murder of Christopher Collazo. Plaintiffs admit that

Defendant Rubinstein was previously dismissed with prejudice as a defendant in that case.

Plaintiffs do not dispute that such case arose out of the same transaction or occurrence as the instant

suit, nor do Plaintiffs dispute that their claims against Defendant Rubinstein in this case largely

overlap with those in their previous suit. [Dkt. #84, pp. 4-7].

       Res judicata prevents parties from “relitigating claims that were or could have been brought

in an earlier lawsuit that resulted in a final judgment on the merits. Res judicata applies when (1)

there has been a final judgment on the merits in an earlier action, (2) there is an identity of parties

or privies in the two suits, and (3) there is an identity of the causes of action in the two suits.”

Jagla v. BMO Fin. Grp., 248 F. App'x 743, 744–45 (7th Cir. 2007). (internal citation omitted).

       Plaintiffs respond that the claims offered in this lawsuit did not accrue until after the

dismissal of their earlier case. Id. at 4-7. But Plaintiffs’ current claims against Defendant

Rubinstein are largely the same as the ones dismissed with prejudice over fourteen years ago. [Dkt.

#70, Ex. B, ¶¶59-79]. These claims included coerced interrogation under the Fifth and Fourteenth

Amendments (also Counts I and II of the instant suit), conspiracy under the Fourth and Fourteenth

Amendments (pleaded as part of Counts I and II), and deprivation of rights to a fair trial under the



                                                  4
    Case: 1:20-cv-03118 Document #: 88 Filed: 12/15/20 Page 5 of 17 PageID #:779




Fifth and Fourteenth Amendments. Id. Plaintiffs never explain why their claims against Defendant

Rubinstein accrued in 2005 (as they brought them then), but those same claims that arose out of

the same transaction or occurrence did not accrue until after 2005 (as they bring those claims now).

In other words, Plaintiffs argue that their claims against Defendant Rubinstein could not have been

brought in 2005, despite the fact that those claims were brought in 2005 and were dismissed with

prejudice.

       Plaintiffs argue that Defendants implicitly acknowledge that the claims against Defendant

Rubinstein did not accrue until after 2005 by not arguing that these claims are barred by the statute

of limitations. [Dkt. #84, pp. 5-7]. Plaintiffs argue that under Heck v. Humphrey, such claims are

not barred by the statute of limitations. Id. at 6. Under Heck, a “§ 1983 cause of action for damages

attributable to an unconstitutional conviction or sentence does not accrue until the conviction or

sentence has been invalidated… the district court must consider whether a judgment in favor of

the plaintiff would necessarily imply the invalidity of his conviction or sentence.” Heck v.

Humphrey, 512 U.S. 477, 487, 489–90, 114 S. Ct. 2364, 2372, 2374, 129 L. Ed. 2d 383 (1994).

       In effect, Plaintiffs, without legal foundation, ask the Court to rule that Heck defeats res

judicata. But federal appellate courts that have ruled on the issue have stated the opposite. “Having

escaped the jaws of Heck, Leather should therefore be permitted to pursue his § 1983 claim in the

district court unless principles of res judicata or collateral estoppel preclude his suit.” Leather v.

Eyck, 180 F.3d 420, 424 (2d Cir. 1999). Plaintiffs do not allege any new evidence against

Defendant Rubinstein, nor do they explain how their earlier coerced interrogation and conspiracy

claims, which they chose to dismiss with prejudice as to Defendant Rubinstein, differ from their

current claims. Plaintiffs ended their case against Defendant Rubinstein over fourteen years ago,




                                                  5
    Case: 1:20-cv-03118 Document #: 88 Filed: 12/15/20 Page 6 of 17 PageID #:780




and now, after all these years, and without legal foundation, attempt to revive it. The principles of

res judicata dictate that Plaintiffs’ claims against Defendant Rubinstein cannot stand.

   III.      PLAINTIFFS’ GROUP-PLEADING REMAINS INSUFFICIENT.

          Plaintiffs’ zealous use of group-pleading is invalid. Plaintiffs claim that Atkins, in which

the court found invalid group-pleading, differs from their case because in Atkins, it was unclear

whether the plaintiffs contended that all, some, or none of the defendants performed the alleged

acts. [Dkt. #84, p. 10]; Atkins v. Hasan, 2015 WL 3862724, at *3 (N.D. Ill. June 22, 2015).

Plaintiffs state that “This is not an issue in Plaintiffs’ complaints here,” but this is precisely the

issue in Plaintiffs’ Complaints. Plaintiffs’ Complaints vaguely reference “Defendants”

approximately fifty-seven times without specifying which Defendants were responsible for the

alleged conduct. [Dkt. #1, ¶¶2, 4, 21, 25, 29, 31-32, 35-36, 39-45, 49-51, 60-62, 65-66, 68, 71, 75,

77-78, 80-81, 89-90, 92, 96, 98, 127, 134, 140-141, 143, 146-147, 149, 163, 167, 177, 178].

          In their Motion to Dismiss, Defendants offered just several of numerous specific examples

of Plaintiffs’ inscrutable references to “Defendants.” Plaintiffs chose not to respond. More or less,

when trying to decipher Plaintiffs’ Complaints, Plaintiffs instruct each individual defendant to

“figure it out. You know what you did.” [Dkt. #84, pp. 8-9]. This is not how the legal process

works. “As the Seventh Circuit has explained, ‘each defendant is entitled to know what he or she

did that is asserted to be wrongful.’” Hoffman v. DuPage Cty., Illinois, No. 16 C 9411, 2018 WL

1508486, at *4 (quoting Bank of America, N.A. v. Knight, 725 F.3d 815, 818 (7th Cir. 2013)).

   IV.       THERE ARE NUMEROUS DEFECTS IN PLAINTIFFS’ CONSPIRACY
             CLAIMS.

          A. Plaintiffs fail to address their conspiracy pleading defects.

          Curiously, in their Response, Plaintiffs do not defend their failure to plead the elements of

conspiracy. To state a conspiracy claim under Section 1983, a plaintiff must specify that “(1) the

                                                   6
    Case: 1:20-cv-03118 Document #: 88 Filed: 12/15/20 Page 7 of 17 PageID #:781




individuals reached an agreement to deprive him of his constitutional rights, and (2) overt acts in

furtherance actually deprived him of those rights. Along with these elements, [plaintiff] must

allege the parties, the general purpose, and the approximate date of the conspiracy.” Williams v.

City of Chicago, 315 F. Supp. 3d 1060, 1075 (N.D. Ill. 2018). (internal citation omitted). Even

before Twombly and Iqbal, conspiracy allegations “were often held to a higher standard than other

allegations; mere suspicion that persons adverse to the plaintiff had joined a conspiracy against

him or her was not enough. The complaint in this case, though otherwise detailed, is bereft of any

suggestion, beyond a bare conclusion, that the remaining defendants were leagued in a conspiracy

with the dismissed defendants.” Cooney v. Rossiter, 583 F.3d 967, 971 (7th Cir. 2009).

       Plaintiffs, in their Response, remain silent as to any alleged agreement entered into by the

Prosecutor Defendants, the contours of such agreements, or when such agreement occurred.

Instead, Plaintiffs quote from their Complaints regarding alleged conduct taken by the Prosecutor

Defendants individually but fail to acknowledge that their pleadings failed to tie that conduct to

any agreement. One theme of Plaintiffs’ Response is their theory that some Defendants allegedly

performed wrongful acts, so these Defendants might have been in cahoots, and at the pleading

stage, the Court must find that everyone was in cahoots. [Dkt. #84, pp. 8-9, 14, 27]. But given

Plaintiffs’ refusal to even plead an agreement, Defendants cannot adequately respond to Plaintiffs’

deficient conspiracy theories.

       Further, as stated in Defendants’ Motion to Dismiss, the only conduct Plaintiffs allege

Defendant Varga to have taken is to coerce a confession, which was suppressed, of someone who

is not a plaintiff in this case. [Dkt. #1, ¶¶67-77]. First, Plaintiffs claim that this can surely be the

basis of a conspiracy. [Dkt. #83, p. 13]. Plaintiffs are wrong. To state a Section 1983 conspiracy

claim, Plaintiffs must allege that overt acts in furtherance of the conspiracy actually deprived them



                                                   7
    Case: 1:20-cv-03118 Document #: 88 Filed: 12/15/20 Page 8 of 17 PageID #:782




of constitutional rights. Williams v. City of Chicago, 315 F. Supp. 3d at 1075. Plaintiffs cannot

enumerate a constitutional right which was violated by coercing a confession which was not used

against them. Second, constitutional violations are not based on hypotheticals, yet Plaintiffs assert

a constitutional violation based on events which never occurred:

               But because Varga and his co-conspirators succeeded in coercing a
               false statement from Shaw which implicated both Fulton and
               Mitchell, his value as a defense witness to corroborate their claims
               of police misconduct was eviscerated; they could not call him at trial
               without risking the introduction of his statements against them and
               further adding to the ledger of fabricated evidence used against
               them.
[Dkt. #84, p. 13]. Plaintiffs do not explain how the suppressed statement could have been used

against them and offer no legal foundation for constitutional violations based on events which

never occurred. In other words, Plaintiffs claim that Defendant Varga conspired to violate

constitutional rights which were not ultimately violated, and his actions may have risked a further

constitutional violation that never happened. This cannot be the basis of a legal claim.

       B. Plaintiffs fail to plead Section 1983 and state law conspiracy against Defendant
          Shepherd and fail to comprehend the duplicative nature of their state law
          conspiracy claim.

       i.      Plaintiffs admit to speculation about Defendant Shepherd’s conspiracy role.
       In their Motion to Dismiss, Defendants demonstrated that Plaintiffs merely speculated

about a conspiracy involving Defendant Shepherd and that a “claim for civil conspiracy cannot be

based upon speculation or conjecture.” Kunz v. City of Chicago, 234 F. Supp. 2d 820, 823 (N.D.

Ill. 2002). In response, Plaintiffs double down on that speculation:

               Defendants appear to suggest that this work by Shepherd was
               coincidentally entirely separate from the work of the Police Officer
               Defendants, but a far more plausible (and certainly permissible)
               reading of Plaintiffs’ allegations is that Shepherd conspired with the
               Police Officer Defendants to support their crooked investigation and
               develop this vital, last-minute evidence they needed to salvage their
               false narrative against Fulton and Mitchell.

                                                 8
    Case: 1:20-cv-03118 Document #: 88 Filed: 12/15/20 Page 9 of 17 PageID #:783




[Dkt. #84, p. 14]. Plaintiffs do not even argue that they pleaded such guesswork in their

Complaints. Rather, they argue that the Court should read such guesswork into their Complaints.

Plaintiffs remain silent as to an alleged agreement and approximate date of the agreement, as

required under Section 1983. Williams, at 1075. It is telling that Plaintiffs “readily concede” the

lack of robustness of their conspiracy allegations against Defendant Shepherd. [Dkt. #84, p. 14].

Lawsuits, and certainly conspiracy claims, cannot be based on fishing expeditions, and Plaintiffs

cannot request that the Court read non-existent allegations into their Complaints.

       ii.     Plaintiffs refuse to allege an agreement between Defendant Shepherd and his
               alleged co-conspirators.
       Under Illinois law, the “elements of civil conspiracy are: (1) a combination of two or more

persons, (2) for the purpose of accomplishing by some concerted action either an unlawful purpose

or a lawful purpose by unlawful means, (3) in the furtherance of which one of the conspirators

committed an overt tortious or unlawful act.” Time Savers, Inc. v. LaSalle Bank, N.A., 371 Ill.

App. 3d 759, 771, 863 N.E.2d 1156, 1167 (2007). “In order to connect a defendant to an alleged

civil conspiracy, the complaint must allege the necessary and important element of the existence

of an agreement. The complaint must allege that the defendant knowingly and voluntarily

participated in the common scheme at the heart of the alleged civil conspiracy.” Redelmann v.

Claire Sprayway, Inc., 375 Ill. App. 3d 912, 924, 874 N.E.2d 230, 241 (2007) (internal citations

omitted). Plaintiffs refuse to allege any such agreement or that Defendant Shepherd knowingly

and voluntarily participated in a common scheme. Rather, their state law conspiracy response

merely refers to their Section 1983 conspiracy guesswork. [Dkt. #84, p. 20].

       iii.    Plaintiffs fail to understand the basic tenets of conspiracy claims, and in turn,
               why their state law conspiracy claim is duplicative.

       In their Motion to Dismiss, Defendants demonstrated that Plaintiffs’ state law conspiracy

claim is duplicative because it is based on the same facts and names the same actors as their

                                                9
   Case: 1:20-cv-03118 Document #: 88 Filed: 12/15/20 Page 10 of 17 PageID #:784




malicious prosecution and intentional infliction of emotional distress claims. [Dkt. #70, pp. 18-

19]. A “conspiracy claim alleging a tort as the underlying wrongful act is duplicative where the

underlying tort has been pled.” Mission Measurement Corp. v. Blackbaud, Inc., 287 F. Supp. 3d

691, 725 (N.D. Ill. 2017). Because “a successful conspiracy claim enables a plaintiff to hold co-

conspirators jointly liable for actions by other members of the conspiracy, a conspiracy claim is

only actionable if it is based on new facts or seeks to extend liability for the underlying tort to new

defendants.” Mission Measurement Corp. v. Blackbaud, Inc., 287 F. Supp. 3d at 725.

        Plaintiffs respond that their claims are not duplicative because Defendant Shepherd took

different acts in furtherance of the conspiracy than other defendants. [Dkt. #84, p. 21]. Plaintiff

claims that “This disjunction means that Plaintiffs’ conspiracy claims do serve a purpose because,

if proven, they would put the Police Officer Defendants and Defendant Shepherd on the hook for

each other’s misconduct.” Id. Plaintiffs merely describe the nature of conspiracy claims. If

different people are leagued in a conspiracy, they are on the hook for each other’s conduct in

furtherance of the conspiracy. Of course, this is irrelevant to whether Plaintiffs’ conspiracy claim

is based on new facts or seeks to extend liability for the underlying tort to new defendants.

Plaintiffs’ state law conspiracy claim does not do this, and Plaintiffs do not argue otherwise.

   V.      PLAINTIFFS’ COUNT II FABRICATION CLAIM STILL FAILS.

        In their Motion to Dismiss, Defendants demonstrated that Plaintiffs failed to state a

Fabrication of Evidence claim in Count II because they base their claim not on fabricated evidence,

but on allegedly coerced statements, which is not the basis of a fabrication claim. [Dkt. #70, pp.

11-13]. Plaintiffs’ respond that the Prosecutor Defendants knew these statements to be false. [Dkt.

#84, p. 16]. It is telling that, to support their argument that “Defendants” knew that Johnitta

Griffin’s statement was false, Plaintiffs cite Paragraphs 26-28 of their Complaints, which read:



                                                  10
   Case: 1:20-cv-03118 Document #: 88 Filed: 12/15/20 Page 11 of 17 PageID #:785




                26. Police Officer Defendants subsequently interviewed
                Griffin.
                27. During her first interview, Griffin explained that she was
                friends with Collazo but knew nothing about his murder. She
                told the officers that she had referred Plaintiff, a friend of
                hers, to Collazo in order to purchase a gun, which Plaintiff
                had wanted for personal protection, and that Collazo and
                Marinelli had robbed Plaintiff rather than selling him a gun.
                28. Griffin denied knowing of any connection between that
                robbery and Collazo’s murder a month later.
[Dkt. #1, ¶¶26-28; Dkt. #84, p. 16]. Here, not only do Plaintiffs fail to allege that the Prosecutor

Defendants knew the statement was false, but it is also yet another example of Plaintiffs playing

fast and loose with the term “Defendants.” Plaintiffs commit the same errors in Paragraphs 31-35,

claiming “To frame Plaintiff, Mitchell, and Shaw, Police Officer Defendants re-interviewed

Griffin.” [Dkt. #84, p. 16; Dkt. #1, ¶¶31-35]. Plaintiffs simply fail to allege that the Prosecutor

Defendants knew these statements to be false or how they knew them to be false. Plaintiffs’

citations to the knowledge of non-Prosecutor Defendants are counterproductive to their cause.

         Regarding their potential Brady claims, Plaintiffs state “The mere fact that Plaintiffs were

aware at the time of their trial that all of these statements were false does not obviate Defendants’

liability for suppression.” [Dkt. #84, p. 17]. Plaintiffs continue to ignore that there is no Brady

obligation to inform a defendant that his or her confession was coerced. Sornberger v. City of

Knoxville, Ill., 434 F.3d 1006, 1029 (7th Cir. 2006). Plaintiffs still do not identify the “other

witnesses” to whom they refer in their Complaints. [Dkt. #1, ¶147]. Plaintiffs cannot state a Brady

claim for Plaintiff Mitchell’s own confession, nor for Shaw’s statement, which was not used.

   VI.      COUNTS III AND IV REMAIN REDUNDANT.

         In both Counts III and IV of Plaintiffs’ Complaints, Plaintiffs allege that the same

Defendants fabricated evidence to initiate judicial proceedings and secure a conviction. [Dkt. #1,

¶¶152-154, 160-162]. Plaintiffs recognize that Count IV is a due process claim. Plaintiffs claim

                                                 11
   Case: 1:20-cv-03118 Document #: 88 Filed: 12/15/20 Page 12 of 17 PageID #:786




their Count III Deprivation of Liberty without Probable Cause under the Fourteenth Amendment

is not a due process claim. [Dkt. #84, p. 18]. This makes no sense, as Plaintiffs’ Fourteenth

Amendment liberty interest is only cognizable under the Due Process Clause. “[I]ndividuals do

not have a federal right not to be summoned into court and prosecuted without probable cause.

Instead, we usually analyze these self-styled ‘malicious prosecution’ claims as alleging a violation

of a particular constitutional right, such as the right to be free from unlawful seizures under the

Fourth Amendment, or the right to a fair trial under the Due Process Clause.” Serino v. Hensley,

735 F.3d 588, 592 (7th Cir. 2013).

       Plaintiffs clearly attempt to state a federal malicious prosecution claim, i.e., a due process

violation, in Count III. Plaintiffs further claim that “Count III alleges a Fourth and Fourteenth

Amendment claim for deprivation of liberty without probable cause, Dkt. 1 ¶¶ 151-158—a claim

that does not focus on the conduct of Plaintiffs’ eventual criminal trials.” [Dkt. #84, p. 18]. This is

odd because the operative language of Count III is that “Defendants caused Plaintiff to be deprived

of his liberty without probable cause and subjected improperly to judicial proceedings for which

there was no probable cause, in violation of his rights secured by the Fourth and Fourteenth

Amendments.” [Dkt. #1, ¶53]. Counts III and IV are the same claims, namely due process claims

alleging that the same Defendants fabricated evidence to initiate judicial proceedings and secure a

conviction. These claims are redundant, and one should be dismissed. Hale v. Renee-Baker, No.

01 C 7073, 2002 WL 1613765, at *1 (N.D. Ill. July 19, 2002).

   VII.    PLAINTIFFS’          THIRTEENTH             AMENDMENT             CLAIM        REMAINS
           DEFICIENT.

       In support of their Thirteenth Amendment claim, Plaintiffs state that because of Defendant

Shepherd’s alleged misconduct, he is “liable for all of the consequences of that misconduct,

including for subjecting [Plaintiffs] to forced labor while imprisoned as a result.” [Dkt. #84, p. 20].

                                                  12
   Case: 1:20-cv-03118 Document #: 88 Filed: 12/15/20 Page 13 of 17 PageID #:787




Plaintiffs defend this odd claim, despite involuntary servitude being “a condition of servitude in

which the victim is forced to work for the defendant by the use or threat of physical restraint or

physical injury, or by the use or threat of coercion through law or the legal process.” United States

v. Kozminski, 487 U.S. 931, 952 (1988). (emphasis added).

       As Defendants demonstrated in their Motion to Dismiss, Defendant Shepherd never forced

Plaintiffs to work for him as he did not work for their prison. Moreover, Plaintiffs’ Complaint is

silent as to forced labor. While Plaintiffs plead that any labor performed in the prison system

constituted involuntary servitude, they neither alleged such labor was forced nor what labor was

performed. [Dkt #1, ¶171, generally]. As Plaintiffs admit, the Supreme Court has defined

“involuntary servitude” as physical or legal coercion. [Dkt. #84, p. 19]. Plaintiffs do not allege that

Defendant Shepherd physically or legally coerced them to work, let alone to work for him.

Plaintiffs add that “the Supreme Court in Kozminski was interpreting ‘involuntary servitude’ in the

context of the criminal statute at issue in that case, and left the door open to a more expansive

reading outside the context of a criminal statute.” Id. Not only do Plaintiffs fail to explain this

statement, but this statement is also clearly wrong. “The pivotal phrase [in the statute], ‘involuntary

servitude,’ clearly was borrowed from the Thirteenth Amendment.” United States v. Kozminski,

487 U.S. 931, 944–45, 108 S. Ct. 2751, 2761, 101 L. Ed. 2d 788 (1988).

       Further mooting Plaintiffs’ argument, Plaintiffs were duly convicted, even if their

convictions were reversed. Perrault v. State, No. 15-CV-144-BBC, 2016 WL 126918, at *3 (W.D.

Wis. Jan. 11, 2016), aff'd sub nom. Perrault v. Wisconsin Dep't of Corr., 669 F. App'x 302 (7th

Cir. 2016); see also Heidelberg, 2019 WL 4862069, at *19. Plaintiffs cite no cases to the contrary,

and the case law is universally against them.

   VIII. PLAINTIFFS’ FAILURE TO INTERVENE CLAIM STILL FAILS.



                                                  13
   Case: 1:20-cv-03118 Document #: 88 Filed: 12/15/20 Page 14 of 17 PageID #:788




       In response to Defendants’ Failure to Intervene arguments, Plaintiffs misstate case law and

attempt to rewrite their Complaints. Defendants cited numerous cases, including this Court’s own

ruling, to demonstrate that prosecutors have qualified immunity regarding intervening in police

officers’ coercion of confessions and statements, and absolute immunity in deciding whether to

prosecute. [Dkt. #70, pp. 21-22]. In exchange, Plaintiffs cite one irrelevant case, calling it “the

more numerous and persuasive authority.” [Dkt. #84, p. 21]. Their case, Resendiz, states that “a

prosecutor who acts as an investigator and allegedly fabricates evidence against a defendant during

the investigation stage could be held liable for failure to intervene under Section 1983.” Resendiz

v. City of Chicago, No. 16 C 11046, 2017 WL 11569364, at *2 (N.D. Ill. Aug. 10, 2017).

       Of course, that is not the issue. The issue is whether there exists a failure to intervene claim

for prosecutors “allowing” police officers to fabricate statements, and courts in this District have

resoundingly rejected such claims. Yet, that is the conduct for which Plaintiffs attempt to pin

liability on the Prosecutor Defendants: “Defendant Rubinstein allowed the Police Officer

Defendants to fabricate Griffin’s statement, and then falsely documented that the statement had

come from Griffin as a result of a legitimate police interview.” [Dkt. #1, ¶33]. To dispute the

overwhelming rejection of their claims, Plaintiffs cite Abdullahi v. City of Madison, a case which

does not regard the actions of prosecutors. Abdullahi v. City of Madison, 423 F.3d 763 (7th Cir.

2005). Plaintiffs are conspicuously silent on this Court’s own rejection of these claims. Hobbs v.

Cappelluti, 899 F. Supp. 2d 738, 773 (N.D. Ill. 2012).

       And while Plaintiffs now assert that their claim also encompasses Defendants Rubinstein

and Judge failing to intervene on each other, their Complaints do not allege that Defendants

Rubinstein and Judge knew of each other’s alleged conduct. [Dkt. #1, ¶¶46-47]. Plaintiffs are not

even certain that these defendants knew of the police officers’ conduct. Id. at ¶48. Furthermore,



                                                 14
   Case: 1:20-cv-03118 Document #: 88 Filed: 12/15/20 Page 15 of 17 PageID #:789




Plaintiffs explicitly request leave to conduct a fishing expedition regarding Defendant Shepherd’s

alleged failure to intervene. [Dkt. #84, p. 27]. This is illegal. “[D]iscovery is not to be used as a

fishing expedition.” E.E.O.C. v. Harvey L. Walner & Assocs., 91 F.3d 963, 971 (7th Cir. 1996).

   IX.      PLAINTIFFS’ INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
            (“IIED”) CLAIMS ARE TIME-BARRED.
         Plaintiffs cite relevant case law regarding the tension between Heck and IIED claims. [Dkt.

#84, p. 30]. There is a split in this District on whether Heck tolls the one-year statute of limitations

on their IIED claims when they stem from claims that might otherwise be Heck-barred. Numerous

judges in this District have sided against Plaintiff: Batchelor v. City of Chicago, No. 18 C 8513,

2020 WL 509034, at *4 (N.D. Ill. Jan. 31, 2020); Friends-Smiley v. City of Chicago, 16-CV-5646,

2016 WL 6092637, at *2 (N.D. Ill. Oct. 19, 2016); Phillips v. City of Chi., No. 14 C 9372, 2015

WL 5675529, at *7 (N.D. Ill. Sept. 24, 2015); Chatman v. City of Chi., 2015 WL 1090965, *9

(N.D. Ill. Mar. 10, 2015); Taylor v. City of Chicago, 80 F. Supp. 3d 817, 828 (N.D. Ill. 2015); Hill

v. City of Chi., 2014 WL 1978407, *3 (N.D. Ill. May 14, 2014); Bamberg v. City of Evanston, 2014

WL 1612710, *4 (N.D. Ill. Apr. 16, 2014).

         Defendants recognize, however, that this Court has previously ruled against Defendants’

argument in Hobbs v. Cappelluti, which Defendants cite to support their failure to intervene

argument. Hobbs, 899 F. Supp. 2d at 763. Defendants note that even if this Court does not find

incongruities between the instant case and Hobbs, res judicata would still bar Plaintiffs’ IIED

claim against Defendant Rubinstein, and Plaintiffs’ IIED claim would still fail against all

Defendants because it is based on their other failed claims.

   X.       PLAINTIFFS’ INDEMNIFICATION CLAIM FAILS BECAUSE ALL OF
            THEIR UNDERLYING CLAIMS FAIL.

         Because Counts I-VII and IX-XI must be dismissed as to the County Defendants, Cook

County is not liable for indemnification.

                                                  15
   Case: 1:20-cv-03118 Document #: 88 Filed: 12/15/20 Page 16 of 17 PageID #:790




                                        CONCLUSION

       WHEREFORE, the County Defendants reply in support of their Motion to Dismiss Counts

I-VII and IX-XI of Plaintiffs’ Complaints.



                                                  Respectfully Submitted,

                                                  /s/ Zachary A. Pestine
                                                  One of the attorneys for the
                                                  Cook County Defendants


Brian P. Gainer (gainerb@jbltd.com)
Monica Burkoth (burkothm@jbltd.com)
Zachary A. Pestine (pestinez@jbltd.com)
Ahmed A. Kosoko (kosokoa@jbltd.com)
JOHNSON & BELL, LTD.
33 W. Monroe, Suite 2700
Chicago, Illinois 60603
Tel: (312) 372-0770
Fax: (312) 372-9818


                                                  /s/ T. Andrew Horvat
                                                  Cook Co. Assistant State's Attorney
                                                  50 W. Washington, 5th Floor
                                                  Chicago, Illinois 60602
                                                  (312) 603-3362
                                                  timothy.horvat@cookcountyil.gov




                                             16
   Case: 1:20-cv-03118 Document #: 88 Filed: 12/15/20 Page 17 of 17 PageID #:791




                                CERTIFICATE OF SERVICE


       I, Zachary A. Pestine, hereby certify that, in accordance with Fed. R. Civ. P. 5 and LR 5.5
and the General Order on Electronic Case Filing (ECF), I served this Notice, together with the
documents herein referred, electronically via the ECF-CM system on December 15, 2020.


                                                    /s/ Zachary A. Pestine
                                                       Zachary A. Pestine




                                               17
